USCA4 Appeal: 21-7136   Doc: 9
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                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 21-7136


        UNITED STATES OF AMERICA,

                            Plaintiff - Appellee,

                     v.

        CARLTON BROWN,

                            Defendant - Appellant.



        Appeal from the United States District Court for the Eastern District of Virginia, at
        Richmond. M. Hannah Lauck, District Judge. (3:90-cr-00113-MHL-RCY-2)


        Submitted: January 24, 2022                                       Decided: February 2, 2022


        Before GREGORY, Chief Judge, WILKINSON, Circuit Judge, and TRAXLER, Senior
        Circuit Judge.


        Affirmed by unpublished per curiam opinion.


        Carlton Brown, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               Carlton Brown appeals the district court’s order denying his motion for

        compassionate release.    We have reviewed the record and find no reversible error.

        Accordingly, we affirm for the reasons stated by the district court. United States v. Brown,

        No. 3:90-cr-00113-MHL-RCY-2 (E.D. Va. July 29, 2021).              We dispense with oral

        argument because the facts and legal contentions are adequately presented in the materials

        before this court and argument would not aid the decisional process.

                                                                                       AFFIRMED




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